          Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 1 of 7




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

HELEN BRIGGS, et al.,                        )
                                             )
                      Plaintiffs,            )
                                             )
v.                                           )              Case No. CIV-13-1157-M
                                             )
FREEPORT-MCMORAN COPPER                      )
& GOLD, INC., et al.,                        )
                                             )
                      Defendants.            )

                                            ORDER

       Before the Court is Plaintiffs’ Motion for Class Certification and Brief in Support, filed

February 23, 2015. On March 27, 2015, defendants Freeport-McMoran, Inc., f/k/a Freeport-

McMoran Copper & Gold Inc., Freeport Minerals Corporation f/k/a Freeport-McMoran

Corporation f/k/a Phelps Dodge Corporation, Cyrus Amax Minerals Company, and Blackwell Zinc

Company, Inc. (collectively “Defendants”) responded. On June 25, 2015, plaintiffs replied, and on

July 24, 2015, Defendants filed their surreply. Also before the Court are plaintiffs’ Motion to

Exclude Certain Opinions of Dr. Barbara Beck and Defendants’ Motions to Exclude Plaintiffs’

Expert Mark Berkman and Brief in Support, to Exclude Opinions of Plaintiffs’ Expert J. Berton

Fisher and Brief in Support, and to Exclude Opinions of Plaintiffs’ Expert Richard DeGrandchamp

and Brief in Support, filed June 26, 2015. Finally, before the Court are Defendants’ Motion to

Strike Rebuttal Reports of Plaintiffs’ Experts and Brief in Support, filed July 10, 2015, and

Defendants’ Motion to Strike Second Rebuttal Report of Plaintiffs’ Expert Richard

DeGrandchamp, filed July 29, 2015. All of the above motions of plaintiffs and Defendants have

been fully briefed. Based on the parties’ submissions, the Court makes its determination.
           Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 2 of 7




I.     Introduction

       This action stems from plaintiffs’ allegations of continuous and ongoing pollution and

contamination in and around the City of Blackwell, Kay County, Oklahoma. 1 Plaintiffs allege the

pollution emanates from the Blackwell Zinc Smelter (“Blackwell Smelter”), which plaintiffs allege

Defendants own. 2 The Blackwell Smelter began operations in 1916 and ceased operations on May

17, 1972. Plaintiffs allege that the Blackwell Smelter has continued to spread pollution throughout

Blackwell from the beginning of its operations until today. Plaintiffs further allege that smelters,

like the Blackwell Smelter, can cause air-polluting emissions and that Defendants operated the

Blackwell Smelter with no emission controls. In their First Amended Complaint, plaintiffs allege:

               Some of Defendants’ pollution was placed directly on the Plaintiffs’
               properties. In other cases, the blowing of the wind picks up
               Defendants’ pollution and distributes it on Plaintiffs’ properties. .
               [sic] These pollutants contained considerable amounts of arsenic,
               lead, cadmium, zinc and other heavy metals. Defendants’ holding
               areas and slag ponds were unlined and, as a result, heavy metals,
               such as zinc, lead, arsenic, and cadmium, contaminated the soils and
               leached into the groundwater.

Fir. Am. Compl. ¶ 122.

       Plaintiffs filed this instant action seeking actual and punitive damages and injunctive relief

against Defendants for (1) trespass; (2) private nuisance; (3) public nuisance; (4) negligence; (5)



       1
       Plaintiffs consist of over 100 residents who are landowners in and around Blackwell,
Oklahoma.
       2
          During the operational period of the Blackwell Smelter, the Smelter was owned and
operated by defendant Blackwell Zinc Company, Inc. (“BZC”). Plaintiffs allege:
                     [BZC]. . . is a wholly owned subsidiary of Defendant Cyprus
                     Amax [Minerals Company], which is a wholly owned
                     subsidiary of Defendant [Freeport-McMoran Corporation]
                     (formerly Phelps Dodge Corporation), which is a wholly
                     owned subsidiary of Defendant Freeport-McMoRan
                     [Copper & Gold Inc.].
Fir. Am. Compl. ¶116.
                                                 2
           Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 3 of 7




negligence per se; and (6) unjust enrichment. Plaintiffs now move this Court to certify this matter

as a class action, pursuant to Federal Rules of Civil Procedure 23(b)(2)&(3).

II.    Motions to Exclude and Strike

       Pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509

U.S. 579 (1993), plaintiffs have moved to exclude certain opinions of Defendants’ expert Barbara

Beck, and Defendants have moved to exclude the opinions of plaintiffs’ experts Mark P. Berkman,

J. Berton Fisher, and Richard DeGrandchamp. Further, Defendants have moved to strike the

rebuttal reports of plaintiffs’ experts and the second rebuttal report of plaintiffs’ expert Richard

DeGrandchamp. 3 As set forth below, the Court finds, even considering the parties’ respective

expert reports and opinions, that class certification is not appropriate in this case. Therefore, the

Court finds no need to address the parties’ motions to exclude and Defendants’ motions to strike

and finds these motions should be denied as moot.

III.    Discussion

       Plaintiffs not only seek monetary damages but injunctive relief in the form of remediation

and, therefore, move this Court for an order certifying classes in this action under Rules

23(b)(2)&(3). “The class action is an exception to the usual rule that litigation is conducted by and

on behalf of the individual named parties only.” Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541,

2550 (2011) (internal quotations and citation omitted). “To come within the exception, a party

seeking to maintain a class action must affirmatively demonstrate his compliance with Rule 23.”

Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013) (internal quotations and citation omitted).

Further, although the plaintiff ultimately bears the burden of showing that the Rule 23 requirements



       3
         Defendants contend that the rebuttal reports of plaintiffs’ experts should be stricken
because the Court’s Scheduling Order did not provide for rebuttal reports and the reports were
untimely.
                                                 3
          Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 4 of 7




are met, this Court must engage in its own “rigorous analysis” to ensure that certification is

appropriate. See Shook v. El Paso Cty., 386 F.3d 963, 968 (10th Cir. 2004).

              Federal Rule of Civil Procedure 23 provides, in pertinent part:
              (a)     Prerequisites. One or more members of a class may sue or
                      be sued as representative parties on behalf of all members
                      only if:
                      (1)    the class is so numerous that joinder of all members
                             is impracticable;
                      (2)    there are questions of law or fact common to the
                             class;
                      (3)    the claims or defenses of the representative parties
                             are typical of the claims or defenses of the class; and
                      (4)    the representative parties will fairly and adequately
                             protect the interests of the class.
              (b)     Types of Class Actions. A class action may be maintained
                      if Rule 23(a) is satisfied and if:
                                     *              *               *
                      (2)    the party opposing the class has acted or refused to
                             act on grounds that apply generally to the class, so
                             that final injunctive relief or corresponding
                             declaratory relief is appropriate respecting the class
                             as a whole; or

                      (3)    the court finds that the questions of law or fact
                             common to class members predominate over any
                             questions affecting only individual members, and
                             that a class action is superior to other available
                             methods for fairly and efficiently adjudicating the
                             controversy. The matters pertinent to these findings
                             include:
                             (A)     the class members’ interests in individually
                                     controlling the prosecution or defense of
                                     separate actions;
                             (B)     the extent and nature of any litigation
                                     concerning the controversy already begun by
                                     or against class members;


                                               4
           Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 5 of 7




                               (C)     the desirability or undesirability of
                                       concentrating the litigation of the claims in
                                       the particular forum; and
                               (D)     the likely difficulties in managing a class
                                       action.
Fed. R. Civ. P. 23(a),(b)(2)&(3).

       Defendants contend that plaintiffs have failed to satisfy Rule 23(a) prerequisites and,

further, that class certification under Rule 23(b)(2) is inappropriate and plaintiffs have failed to

satisfy the requirements under Rule 23(b)(3). Having carefully reviewed the parties’ submissions

and applicable case law, the Court finds that plaintiffs have failed to satisfy the prerequisites of

Rule 23(a). Specifically, the Court finds that plaintiffs have not established that the class is so

numerous as to make joinder impracticable, pursuant to Rule 23(a)(1). See Trevizo v. Adams, 455

F.3d 1155, 1162 (10th Cir. 2006) (In instances of a numerousity analysis, the Tenth Circuit has

stated that there is “no set formula to determine if the class is so numerous” and “grant[s] wide

latitude to the district court in making th[e] determination.”).

       Plaintiffs assert that joinder is impracticable in this matter based upon the size of the class

and the geographic dispersion of the potential class members. The Court finds that joinder is not

impracticable. Specifically, the potential class in this matter consists of property owners of 479

parcels in Blackwell, Oklahoma who opted out of the settlement class in the Coffey, et al. v.

Freeport-McMoran Copper & Gold Inc. litigation, in the District Court of Kay County, State of

Oklahoma. Further, over 100 potential class members have already been joined to this action.

Outside of stating that the property owners “could be widely dispersed,” plaintiffs have presented

no evidence showing geographic dispersion among the class members, and, in fact, plaintiffs’ own

expert, Dr. J. Berton Fisher (“Fisher”), retained to provide testimony on the class boundary, stated

that “[t]he identities of the land parcels within the Briggs Class Boundary, their physical addresses


                                                  5
            Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 6 of 7




and their ownership [are] easily ascertained.” 4 Plaintiffs’ Second Supplement to Doc. No. 90

[docket no. 97], Ex. 1, Expert Report of John Berton Fisher ¶ 6(i). The Court finds that because

the potential class members are easily ascertained and almost thirty-percent of the landowners have

already been joined in this action, joinder of the remaining landowners would not be impracticable,

and, therefore, plaintiffs’ motion to certify class should be denied. See Martin v. AMVEST Osage,

Inc., Case No. CIV-04-0572-CVE-PJC, 20006 WL 1207709, at *4 (N. D. Okla. May 1, 2006)

(“All members live in Osage County and their names are easily ascertained through records of past

arbitrations. Thus, joinder of parties is neither “difficult [n]or unjust.”) (internal citations omitted).

        Further, even assuming plaintiffs could have been able to satisfy the prerequisites of Rule

23(a), the Court finds that, pursuant to its rulings in McCormick v. Halliburton Energy Services,

Inc., Case No. CIV-11-1272-M, class certification under Rule 23(b)(2) & (3) would have been

inappropriate. Specifically, as to plaintiffs’ assertion that a class should be certified under Rule

23(b)(2) for injunctive relief requiring remediation of the potential class members’ soil, the Court

finds that the Environmental Protection Agency and the Oklahoma Department of Environmental

Quality has had continuing jurisdiction over the remediation actions stemming from the pollution

emanating from the Blackwell Smelter since 1994, and, therefore, the Court would have declined

to certify a class under Rule 23(b)(2) as it would have interfered with the jurisdiction of the

regulatory agencies already involved in remediation actions in Blackwell. See McCormick, 2012

WL 1119493, at *3 (W.D. Okla. April 3, 2012) (“[T]he Court finds that it should abstain from

exercising jurisdiction under the RCRA in order to permit the ODEQ to continue its investigation,

supervision, and remediation of the Site without the prospect of conflicting directive from this



        4
         Further, Fisher provides a list of the parcels, their addresses and owners. See Plaintiffs’
Second Supplement to Doc. No. 90 [docket no. 97], Ex. 1, Expert Report of John Berton Fisher
Exhibit X.
                                                    6
          Case 5:13-cv-01157-G Document 135 Filed 03/28/17 Page 7 of 7




Court as to how the contamination should be remedied.”) Additionally, as to class certification

under Rule 23(b)(3), the Court determined in McCormick that the claims of nuisance, negligence,

and trespass are all highly individualized claims requiring individualized evidence barring a class

action. See id. 2015 WL 918767 (W.D. Okla. March 3, 2015).

       Accordingly, for the reasons set forth above, the Court DENIES Plaintiffs’ Motion for

Class Certification and Brief in Support [docket no. 90] and DENIES plaintiffs’ Motion to Exclude

Certain Opinions of Dr. Barbara Beck [docket no. 107]; Defendants’ Motions to Exclude

Plaintiffs’ Expert Mark Berkman and Brief in Support, to Exclude Opinions of Plaintiffs’ Expert

J. Berton Fisher and Brief in Support, and to Exclude Opinions of Plaintiffs’ Expert Richard

DeGrandchamp and Brief in Support [docket nos. 108, 109, & 110]; Defendants’ Motion to Strike

Rebuttal Reports of Plaintiffs’ Experts and Brief in Support [docket no. 112] and Defendants’

Motion to Strike Second Rebuttal Report of Plaintiffs’ Expert Richard DeGrandchamp [docket no.

122] as MOOT.

       IT IS SO ORDERED this 28th day of March, 2017.




                                                7
